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          EXHIBIT M
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               COUNTY OF YOLO                                                       Philip J. Pogledich
                      Office of the County Counsel                                     County Counsel
                                                           625 Court Street, Room 201 Woodland, CA 95695
                                                                        (530) 666-8172 FAX (530) 666-8279




                                         September 13, 2023

VIA EMAIL ONLY

Tyson C. Langhofer, Esq.
Senior Counsel
Alliance Defending Freedom
tlanghofer@adflegal.org

Dear Mr. Langhofer:

This letter responds to your September 6, 2023 letter to Diana Lopez, County Librarian, concerning
her August 24, 2023 e-mail to Beth Bourne.

I understand that your organization is the legal representative for Ms. Bourne, Moms for Liberty-
Yolo County, the Independent Council on Women’s Sports, the California Family Council, Our
Duty, and Allie Snyder. Your letter indicates that your clients will, consistent with the offer made
by Ms. Lopez, reschedule the August 20 event on transgender athletes and intercollegiate sports in
the near future at the Davis Branch Library. In connection with the proposed rescheduling, your
letter requests that the County agree in writing to certain “terms” to ensure that your “clients are
able to host their event without unlawful cancellation or disruption[.]”

The County recognizes its legal obligation to allow your clients’ event to proceed in a manner
consistent with the protections for speech afforded by the First Amendment, as interpreted by the
courts, with the understanding that the Library’s public meeting rooms are a designated public
forum. This broad assurance addresses the first three “terms” set forth in your letter, which indicate
that presentations and commentary at the event may include speech that some audience members
may find objectionable but not “fighting words” or other categories of speech that federal courts
have previously held unworthy of First Amendment protection.

In addition, your letter seeks an assurance that the County “will provide adequate security and will
promptly remove any attendee(s) that attempts to disrupt the event in any way, including but not
limited to, shouting down or interrupting the speakers, making sounds that interfere with the
speakers’ ability to be heard, blocking entrances or exits, or obstructing views[.]” The County is
sincerely interested in coordinating with you and your clients to ensure the event can proceed safely
and without undue disruption. Rather than extend a vague assurance that those who “disrupt the
event in any way” will be removed, however, we believe additional discussion is needed to establish
mutual expectations on the scope of the County’s legal responsibility and on matters such as the
role of security, staffing, costs, as well as other measures, such as ticketing, that may promote a safe
and effective event for attendees, speakers, and County staff. In no circumstance, however, will the
County permit a private security presence at the event.

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Tyson Langofer, Esq.
September 13, 2023
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As this letter conveys, the County is committed to ensuring public meeting space at its libraries is
open to all groups and the widest range of viewpoints. We recognize that your clients may be
concerned that the County’s deep commitment to diversity, equity, and inclusion—which certainly
extends to the LGBTQ+ community—exists in tension with their First Amendment rights and the
proposed rescheduling of a controversial event. On the contrary, we believe there is no tension and
that the County’s commitment to diversity, equity, and inclusion is compatible with the free
expression of all views.

We look forward working with you and your clients on a rescheduled event. Also, we have
implemented the litigation hold you requested. Please contact me at the e-mail address set forth
above or by phone at (530) 666-8172 to discuss this letter, event security, and any other issues of
interest.

Sincerely,


Philip J. Pogledich
County Counsel

cc:     Diana Lopez, County Librarian




                                                                                Exhibit M, Page 2
